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         In the United States Court of Federal Claims
                                       No. 14-183L
                               (Filed: September 5, 2018)

                                         )
 IDEKER FARMS, INC., et al.,             )
                                         )
                     Plaintiffs,         )
                                         )
 v.                                      )
                                         )
 THE UNITED STATES,                      )
                                         )
                     Defendant.          )
                                         )


                                      ORDER

       Oral argument on the parties’ motions for reconsideration (ECF Nos. 429 and 436)
of the court’s February 23, 2018 trial opinion (ECF No. 422) shall be heard on
Thursday, November 1, 2018 at 9:00 AM central time at the United States District
Court, for the Western District of Missouri, Charles Evans Whittaker Courthouse, 400
East 9th Street, Courtroom 8A, Kansas City, MO, 64104. Counsel for each party shall
appear in person.
      IT IS SO ORDERED.



                                                        s/Nancy B. Firestone
                                                        NANCY B. FIRESTONE
                                                        Senior Judge
